Case 2:10-mj-04147-SCM           Document 527       Filed 10/14/11      Page 1 of 4 PageID: 1074



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                              CR. NO. 2:1O-mj-4147-18 CfY)A~)


                 VS.                                    ORDER FOR INTERIM PAYMENT FOR
                                                        REPRESENTATION OF COUNSEL
       SUNG-H¥UN PARK, et at'                           PURSUANT TO THE CRIMINAL
      \\1VN -'/ 6t> S\)~G                               JUSTICE ACT 18:3006(A)



     Because of the complexity of the case, the expected length of pretrial preparation, the

  length of the trial, and the anticipated hardship of counsel in undertaking representation full-time

  for such a period without compensation, in accordance with section 230.73.10 of the Guidelines

  for the Administration of the Criminal Justice Act, the following procedures for interim

  payments shall apply to the law firm of Murphy Orlando LLC during the course of its

  representation of Hyun-Yop Sung in this case:

                                 1. SUBMISSION OF VOUCHERS

     Counsel shall submit to the Court Clerk, once every third month, an interim CJA Form 20

  "Appointment of and Authority to Pay Court Appointed Counsel", Compensation earned and

  reimbursable expenses incurred from the first to the last day of the three month billing period

  shall be claimed on an interim voucher submitted no later than the fifth day of the following

  month, or in the first business day thereafter. The first interim voucher submitted shall reflect all

  compensation claimed and reimbursable expenses incurred from the date of appointment to

  September 16,2011; thereafter, the vouchers shall be submitted every third month according to

  the schedule outlined above.


                                                  -1­
Case 2:10-mj-04147-SCM         Document 527         Filed 10/14/11     Page 2 of 4 PageID: 1075



    Each voucher shall be numbered in series in Box 22 and include the time period it covers in

  Box 19. All interim vouchers shall be supported by detailed and itemized time and expense

  statements. Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice

  Act outlines the procedures and rules for claims by CJA attorneys and should be followed

  regarding each voucher.

     The Court will review the interim vouchers when submitted, particularly with regard to the

  amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of the

  approved number of hours. The Court will also authorize payment for all reimbursable expenses .

  reasonably incurred.

     At the conclusion of representation, counsel should submit a final voucher seeking payment of

  the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall

  be labeled as such in Box 22 and shall set forth in detail the time and expenses claimed for the

  entire case, including all appropriate documentation. After reviewing the final voucher, the

  Court will submit it to the Chief Judge of the Circuit or his or her designee for review and

  approval.

                                 2. REIMBURSABLE EXPENSES

     Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incident to

  representation. While the statute and applicable rules and regulations do not place a monetary

  limit on the amount of expenses that can be incurred, counsel should incur no single expense

  item in excess of$800 without PRIOR approval of the Court. Such approval may be sought by

  submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,

  stating the nature of the expense, the estimated dollar cost and the reason the expense is


                                                 -2­
Case 2:10-mj-04147-SCM          Document 527         Filed 10/14/11      Page 3 of 4 PageID: 1076



  necessary to the representation. An application seeking such approval may be filed in camer!!, if

  necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur

  it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate

  more than $800 on one or more interim vouchers are not considered single expenses requiring

  Court approval.

     With respect to travel outside of the city-county-state for the purpose of consulting with the

  client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be applied

  in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can

  be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a

  single trip will aggregate an amount in excess of $800, the travel should receive PRIOR

  authorization of the Court. The following additional guidelines may be helpful:

     (a) Case related travel by privately owned automobile should be claimed per mile at the

  applicable rate (check with the Clerk's office for current rates), plus parking fees, ferry fees, and

  bridge, road and tunnel tolls. Transportation other than by privately owned automobile should be

  claimed on an actual expense basis. If travel is authorized, arrangements can be made at

  Government rates through Omega World Travel. Please contact the C.l.A. administrator in the

  Clerk's office for additional guidance. Air travel in "first class" is prohibited.

     (b) Actual expenses incurred for meals and lodging while traveling during the course of

  representation must conform to the prevailing limitations placed upon travel and subsistence

  expenses of federal judiciary employees in accordance with existing government travel

  regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.

     (c) Telephone toll calls, telegrams, photocopying and photographs can all be reimbursable


                                                   -3­
        .
Case,',2:10-mj-04147-SCM        Document 527        Filed 10/14/11      Page 4 of 4 PageID: 1077



  expenses if reasonably incurred. However, general office overhead, such as rent,

  secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal

  nature. In addition, expenses for services of subpoenas on fact witnesses are not reimbursable,

  but rather are governed by Rule 17 F.R.Crim.P. and 28 U.S.C.§ 1825.

                           3. FURTHER QUESTIONS OR GUIDANCE

     Answers to questions concerning services under the Criminal Justice Act, can generally be

  found in (l) 18 U .S.C. 3006(A); (2) the Plan of the United States District Court for the District of

  New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the

  Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

  Courts. Should these references fail to provide the desired clarification or direction, counsel is

  directed to contact the Clerk's office, specifically, Anna Connelly, CJA Administrator at

  (609) 989-2398 in Trenton.




  DATE:     1/M/tt                                                                    , U.S.B.J.
                                                                                       U5frr~J


                                             APPROVED


  DATE:     /D-Cj -1/
                                                THOMAS 1. VANASKlE, JUDGE
                                                UNITED STATES COURT OF APPEALS
                                                FOR THE THIRD CIRCUIT

                                   J
                                  /f
                                 (
                                                                                             ·rr\' t\
                                                                                (Rev.10/2'ClIO)


                                                            r '
                                                  -4­
